 8:05-cr-00050-LES-TDT    Doc # 29   Filed: 08/01/05    Page 1 of 1 - Page ID # 47



               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:05CR50
                              )
          v.                  )
                              )
JAIME MARTINEZ-HERNANDEZ,     )                        ORDER
                              )
               Defendant.     )
______________________________)


           The Court has been advised that the defendant wishes to

enter a plea in this matter.         Accordingly,

           IT IS ORDERED that a Rule 11 hearing is scheduled for:

                Monday, August 8, 2005, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The ends of justice will be served by continuing this

case and outweigh the interests of the public and the defendant

in a speedy trial.       The additional time between August 1, 2005,

and August 8, 2005, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 1st day of August, 2005.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     _________________________________
                                        LYLE E. STROM, Senior Judge
                                        United States District Court
